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                             IN THE UNITED STATES DISTRICT COURT
                              FOR THE SOUTHERN DISTRICT OF OHIO
                                       EASTERN DIVISION


Stifel Financial Corp.,
                                                                Case No: 2:18-cv-1223
                Plaintiff,
                                                                Judge Graham
        v.
                                                                Magistrate Judge Jolson
Michael J. Iannarino.

                Defendant.

                              Amended Order of Prejudgment Attachment

        This matter is before the Court on Plaintiff Stifel Financial Corporation’s ex parte motion to
amend the December 3, 2018 order of prejudgment attachment. Plaintiff has submitted evidence
establishing that defendant has transferred the funds that were the subject of the order of attachment.
Plaintiff has set forth specific facts showing that it will suffer irreparable injury if the order is not
amended. For good cause shown, the motion to amend (doc. 19) is GRANTED.
        Accordingly, Defendant Iannarino, either directly or through his business entity Cephas
Capital Partners & Advisory, LLC, shall not transfer, move, sell or encumber the $450,000 drawn from
his Stifel account, then placed in accounts with PNC Bank and CME Federal Credit Union, and later
transferred (whether in whole or in part) to accounts held with Charles Schwab & Co., Inc., which are
identified by account number in plaintiff’s affidavits and supporting documentation, until further
order of the Court.


                                                                s/ James L. Graham
                                                                JAMES L. GRAHAM
                                                                United States District Judge
DATE: December 19, 2018




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